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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

DAVID TOM,

                     Plaintiff,

v.                                          Case No: 6:22-cv-1644-PGB-DAB

MODERN CONCEPTS
CONSTRUCTION LLC,

                     Defendant.


                      ORDER DIRECTING COMPLIANCE

      This case is before the Court upon periodic review. Plaintiff has failed to

comply with the Court's Initial Case Order (Doc. No.3) of September 11, 2022,

directing Plaintiff to file his Certificate of Interested Persons and Corporate

Disclosure Statement and Notice of Pendency of Other Actions within 14 days.

Accordingly, it is

      ORDERED that the Plaintiff shall file a response to said Order within

fourteen (14) days from the date of this Order. Failure to comply with this Order

may result in the dismissal of the case without further notice or other appropriate

sanctions.

      DONE AND ORDERED at Orlando, Florida, this 6th day of October, 2022.
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Copies furnished to:
Counsel of Record
Any Unrepresented Party
